Case 2:21-cv-06071-DSF-JPR Document 21 Filed 11/29/21 Page 1 of 3 Page ID #:374


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    8                       UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
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   11 CARPENTERS SOUTHWEST                    ) CV 21-06071 DSF (JPRx)
      ADMINISTRATIVE CORPORATION, a           )
   12 California non-profit corporation; and  )
      BOARD OF TRUSTEES FOR THE               ) JUDGMENT
   13 CARPENTERS SOUTHWEST TRUSTS,            )
                                              )
   14                             Plaintiffs, )
                                              )
   15   v.                                    )
                                              )
   16   HD ADJUSTING & CONSTRUCTION )
        doing business as HD ADJUSTING &      )
   17   CONSTRUCTION, LLC, a New Mexico )
        limited liability company; and HD     )
   18   ADJUSTING & CONSTRUCTION,             )
        INC., a New Mexico corporation, and   )
   19   DOES 1 through 10, inclusive,         )
                                              )
   20                             Defendants. )
        __________________________________ )
   21

   22
              The Court having granted Plaintiffs’ Motion for Entry of Default Judgment,
   23
             IT IS ORDERED, ADJUDGED, AND DECREED that CARPENTERS
   24
        SOUTHWEST ADMINISTRATIVE CORPORATION and BOARD OF
   25
        TRUSTEES FOR THE CARPENTERS SOUTHWEST TRUSTS have judgment
   26
        against HD ADJUSTING & CONSTRUCTION doing business as HD
   27
        ADJUSTING & CONSTRUCTION, LLC, a New Mexico limited liability
   28
        company; and HD ADJUSTING & CONSTRUCTION, INC., a New Mexico
Case 2:21-cv-06071-DSF-JPR Document 21 Filed 11/29/21 Page 2 of 3 Page ID #:375


    1   corporation (DEFENDANTS), as follows:
    2

    3   1.    Unpaid contributions                                            $56,692.87
    4   2     Interest on the unpaid contributions pursuant
              to 29 U.S.C.A. 1132 (g)(2) (7 percent per annum)
    5         pursuant to the Trust Agreements from the due
              date to billing date, January 25, 2021                             5,725.07
    6
        3.    Audit Fees                                                         2,300.00
    7
        Sub-total                                                             $64,717.94
    8

    9   4.    Interest from January 25, 2021 to November 29, 2021
              (accruing at $10.87 per day)                                       3,347.96
   10
        5.    Interest pursuant to 29 U.S.C.A. 1132(g)(2)(C)
   11         (double interest on contributions)                                 9,073.03
   12   6.    Attorneys' fees pursuant to Local Rule 55-3                        4,188.72
   13   GRAND TOTAL                                                           $81,327.65
   14   7.    Plus costs to be determined after entry
              of judgment.
   15
        8.    Pursuant to 28 U.S.C. §1961(a), this judgment
   16         shall bear interest at the rate of .22 % per annum.
   17
                    IT IS FURTHER ORDERED that:
   18
              1.    DEFENDANTS submit reports for the period January 2020 to present
   19
        with payment for the fringe benefit contributions.
   20
              2.     DEFENDANTS are permanently enjoined and restrained for so long
   21
        as they remain bound to make any payments or contributions to the Plaintiffs from
   22
        failing to deliver or cause to be delivered to CARPENTERS SOUTHWEST
   23
        ADMINISTRATIVE CORPORATION, the following:
   24
                    a.     Complete, truthful, and accurate Employers Monthly Reports to
   25
        Trustees for the period January 2020 to the present,
   26
                    b.     A complete, truthful, and accurate Employers Monthly Report
   27
        to Trustees covering all employees of DEFENDANTS, employed during the
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Case 2:21-cv-06071-DSF-JPR Document 21 Filed 11/29/21 Page 3 of 3 Page ID #:376


    1   previous month under the Agreement,
    2               c.     A declaration from a responsible employee of DEFENDANTS,
    3   attesting from his or her personal knowledge under penalties of perjury to the
    4   completeness, truthfulness, and accuracy for DEFENDANTS's Monthly Report;
    5   and
    6               d.     Checks for the full amount shown as owing to each Trust on
    7   DEFENDANTS’s Monthly Report, payable as designated on the Monthly Report.
    8

    9   DATED: November 29, 2021
   10                                   _______________________________________
                                        DALE S. FISCHER
   11                                   UNITED STATES DISTRICT JUDGE
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